                  Case 24-21209-LMI        Doc 110     Filed 12/11/24      Page 1 of 8




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov
    In re:                                               Chapter 11

    SHIFTPIXY, INC. et, al.1                             Case No. 24-21209-LMI

          Debtors.                                       (Jointly Administered)
    _______________________________/

       DECLARATION OF RICHELLE KALNIT (A) IN SUPPORT OF DEBTORS’
       EXPEDITED MOTION OF DEBTORS FOR (I) ENTRY OF AN ORDER (A)
 APPROVING CERTAIN BIDDING PROCEDURES AND THE FORM AND MANNER
OF NOTICE THEREOF, (B) SCHEDULING AN AUCTION AND A HEARING ON THE
APPROVAL OF THE SALE OF ALL OR SUBSTANTIALLY ALL OF THE DEBTORS’
      REMAINING ASSETS, (C) ESTABLISHING CERTAIN ASSUMPTION AND
ASSIGNMENT PROCEDURES AND APPROVING MANNER OF NOTICE THEREOF,
        AND (D) SCHEDULING A HEARING TO APPROVE ASSUMPTION AND
  ASSIGNMENT OF THE ASSUMED CONTRACTS; (II) ENTRY OF AN ORDER (A)
        AUTHORIZING THE DEBTORS’ ENTRY INTO AN ASSET PURCHASE
AGREEMENT; AND (B) AUTHORIZING THE SALE OF ALL OR SUBSTANTIALLY
 ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES;
 (III) ENTRY OF AN ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT
     OF THE ASSUMED CONTRACTS; AND (IV) RELATED RELIEF, AND (B) IN
    FURTHERANCE OF ORDER ON DEBTORS’ EXPEDITED APPLICATION FOR
ENTRY OF AN ORDER UNDER 11 U.S.C. §§ 327(a) AND 328(a) AUTHORIZING THE
   EMPLOYMENT AND RETENTION OF HILCO IP SERVICES, LLC d/b/a HILCO
     STREAMBANK AS INTANGIBLE ASSETS DISPOSITION ADVISOR TO THE
                 DEBTORS EFFECTIVE AS OF THE PETITION DATE

I, Richelle Kalnit, declare as follows under penalty of perjury:

             1.   I am the Chief Commercial Officer and Senior Vice President of Hilco IP Services,

LLC, d/b/a Hilco Streambank (“Hilco Streambank”), an intangible asset and intellectual property

brokerage firm with offices in Massachusetts, New York, and the United Kingdom. Hilco

Streambank has extensive experience in, and a reputation for, providing high quality intellectual


1
    The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
     Management, Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
                Case 24-21209-LMI            Doc 110       Filed 12/11/24        Page 2 of 8




property disposition services to large and complex companies in bankruptcy proceedings and other

distressed situations. Hilco Streambank and its principals have coordinated the marketing and sale

of intellectual property assets for numerous consumer products companies, ecommerce companies

and retailers in the United States and globally. As part of those engagements, Hilco Streambank

was responsible for, among other things, marketing intangible assets, identifying and negotiating

terms with potential stalking horse bidders, identifying potential buyers, conducting bidding

auctions, and negotiating the terms of sales.

        2.       I have personally led the marketing and sale of intellectual property assets in a

variety of bankruptcy cases in bankruptcy cases throughout the United States. In those cases, I was

responsible for the marketing and sale of intangible assets on behalf of debtors and trustees,

including valuable trademarks, patents, copyrights, domain names, customer lists and related data,

archival materials, and related assets. I have approximately 19 years of experience advising

financially distressed companies, their creditors and equity holders, the last 7 of which have been

in the asset disposition arena focused exclusively on intangible assets and supporting collateral. I

have enabled estates and creditors to obtain the highest value for the debtor’s intellectual property

and associated tangible assets in a variety of cases and contexts.

        3.       I submit this declaration (this “Declaration”) (A) in support of the relief requested

in the motion (the “Sale Motion”)2 filed by the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) seeking, among other things, approval of the sale of the Debtors’

Assets, and (B) in furtherance of the Order Granting Debtors’ Expedited Application for Entry of

an Order Under 11 U.S.C. §§ 327(a) and 328(a) Authorizing the Employment and Retention of




2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to them in the Sale
    Motion.

                                                       2
              Case 24-21209-LMI        Doc 110      Filed 12/11/24     Page 3 of 8




Hilco IP Services, LLC d/b/a Hilco Streambank as Intangible Assets Disposition Advisor to the

Debtors Effective as of the Petition Date (the “Hilco Streambank Retention Order”).

       4.     Except as otherwise stated, all statements in this Declaration are based upon my

review of relevant documents, my discussions with the Debtors and their professionals, including

other members of Hilco Streambank, and my personal knowledge and experience.

                  Hilco Streambank’s Marketing Efforts in Furtherance of
                              Maximizing Value of the Assets

       5.     In connection with its engagement by the Debtors, Hilco Streambank worked with

the Debtors and their professionals to identify and assemble relevant data concerning the Assets,

and to market the Assets to potential buyers. Hilco Streambank’s activities included:

                          a. identifying the Assets and assisting the company in preserving the
                             Assets;

                          b. developing marketing materials including a detailed information
                             sheet and website landing page (the “Teaser”):
                             https://hilcoglobal.com/services/intellectual-property/for-
                             sale/shiftpixy/, which described the Assets, the history of their use
                             and their availability for sale;

                          c. working with the Debtors and their counsel to advise on securing
                             credentials for assets including domain names;

                          d. synthesizing information concerning the Debtors’ additional Assets,
                             including its software platform and clients;

                          e. drafting and disseminating a press release via PR Newswire
                             describing the Assets and their availability for sale, and arranging
                             for a piece to be published in Staffing Industry Analysts;

                          f. developing a contact list of potential buyers of the Assets;

                          g. having direct contact by phone or email with approximately 206
                             potential buyers of the Assets;

                          h. disseminating email marketing materials that were sent to
                             approximately 25,000 contacts from Hilco Streambank’s
                             proprietary contact database;


                                                3
                 Case 24-21209-LMI              Doc 110       Filed 12/11/24         Page 4 of 8




                                i. advertising the Assets on Hilco Streambank’s LinkedIn page;

                                j. establishing and populating a virtual data room (the “Data Room”)
                                   and arranging for the admission of approximately 33 parties to the
                                   Data Room who executed a form of non-disclosure agreement
                                   acceptable to the Debtors;

                                k. conducting diligence calls, including with members of the Debtors’
                                   management team, in particular the software engineering team and
                                   chief operating officer;

                                l. developing an auction format for the Assets, including a bid form
                                   and bidder qualification guidelines;

                                m. managing the Auction of the Assets;

                                n. working with the Debtors and the Successful Bidder (defined below)
                                   of the Assets to document deliverables and terms of the sale; and

                                o. continuing to work with the Debtors and their professionals to close
                                   the sale of the Assets.

                        Further Marketing Efforts to Generate Qualified Bids

         6.       Hilco Streambank and the Debtors notified potential buyers that any offers to

acquire the Assets were required to be submitted in writing on or before December 6, 2024 at 12:00

p.m. Eastern Time (the “Bid Deadline”), together with a good-faith deposit equal to ten percent

(10%) of the amount of the potential buyer’s bid, along with the other requirements as set forth in

the Sale Motion.3

         7.       As a result of the efforts undertaken as described more fully above, the Debtors

received bids from seven (7) interested parties. I and my team, along with the Debtors and their

counsel, worked to qualify the bids received from these interested parties. Following a review of



3
  The Teaser advertised the opportunity to serve as a “stalking horse” bidder. In discussions that I and my team
members had with interested parties, we also indicated to parties expressing interest that an opportunity to serve as a
stalking horse bidder may be available. One party submitted a written indication of interest to potentially serve as a
stalking horse bidder. Following various discussions, the written indication of interest did not ultimately materialize
into a stalking horse bid.



                                                          4
               Case 24-21209-LMI          Doc 110      Filed 12/11/24     Page 5 of 8




the bids, the Debtors decided to set a minimum bid of $25,000 to qualify to participate in the

Auction. As a result of the Debtors’ efforts to qualify bids and given the minimum bid, the bids

of six (6) bidders were deemed qualified as contemplated by the Sale Motion (the “Qualified

Bidders”).

                   The Auction Generated Substantial Value for the Estates

        8.      On December 10, 2024, the Debtors convened the Auction among the six (6)

Qualified Bidders utilizing a video conferencing platform. I conducted the auction, and Debtors’

counsel Isaac Marcushamer and Chief Restructuring Officer Jonathan Feldman were also present,

along with members of my team. The Auction was transcribed by a Court reporter.

        9.      The opening bid – which contained the highest cash consideration of all bids

following submission of bids by the Bid Deadline – was the bid submitted by Strategic Application

Solutions, Inc., in the amount of $1 million ($1,000,000.00).

        10.     On the record of the Auction, I made the following announcement:

On behalf of the Debtors, I’d like to make some disclosures with respect to Strategic Application
Solutions, Inc. One of the principals of this entity is Tim Papp, who is the debtors’ general counsel.
On Thursday, December 5, 2024, Mr. Papp notified me, the debtors’ outside counsel and the
debtors’ chief restructuring officer that he was considering placing a bid as part of this sale process.
We advised him that given his status as a potential bidder, we would plan to treat him in a fashion
consistent with all other potential bidders until such time as he is no longer a potential or actual
bidder. Given that an entity affiliated with Mr. Papp did in fact place a bid, Mr. Papp has not
received copies of or information about any of the bids, and until the commencement of this
proceeding, he was not aware of the identities of the other bidders.

        11.     After the submission of approximately 29 topping bids, the Debtors selected the bid

submitted by G3 Business Services LLC (the “Successful Bidder”), containing aggregate cash

consideration of $1,850,000.00, as the highest and/or otherwise best bid for the Assets. The

Debtors designated Strategic Application Solutions, Inc. as the Next-Highest Bidder, with a bid

containing aggregate cash consideration of $1,825,000.00.

                                                   5
               Case 24-21209-LMI         Doc 110       Filed 12/11/24   Page 6 of 8




       12.     The Debtors requested that the Successful Bidder wire an additional deposit,

thereby increasing the total deposit held on behalf of the Debtors to $185,000.00, or 10% of the

Successful Bid, by no later than 12 pm Eastern Time on Wednesday, December 11, 2024. I have

confirmed that the additional deposit has been received.

       13.     I believe that the sale of the Assets was negotiated, proposed, and entered into by

the Debtors and the Successful Bidder without collusion and in good faith, and resulted from

arm’s-length bargaining positions. Moreover, to the best of my knowledge, no common identity

of directors or controlling shareholders exists between the Debtors and the Successful Bidder.

       14.     A hearing to consider entry of an order approving the Sale Motion is scheduled

before the Court on December 16, 2024. At the sale hearing, the Debtors will seek approval of the

sale to the Successful Bidder.

       15.     I believe that the Successful Bid represents the highest and best offer available for

the Assets after the reasonable and thorough marketing process conducted by Hilco Streambank

and the Debtors. Accordingly, in my opinion, granting the relief requested in the Sale Motion is

in the best interests of the Debtors’ estates and creditors.

             Fee Declaration in Support of Hilco Streambank’s Fees and Expenses

       16.     The Debtors engaged Hilco Streambank to act as their intellectual property

disposition advisor with respect to the Debtors’ interests in their brands and trademarks, domain

names, customer data, copyrights, patents, proprietary software, license agreements, IP addresses

and the like (the “Intellectual Property”), as well as physical archival material (the “Related

Tangible Assets”) that supports the Intellectual Property (together, the “Assets”) pursuant to an

engagement letter (the “Engagement Letter”) dated October 25, 2024 [D.I. 45].

       17.     Pursuant to the Hilco Streambank Retention Order dated November 26, 2024, the



                                                   6
                Case 24-21209-LMI        Doc 110      Filed 12/11/24      Page 7 of 8




Court authorized the Debtors’ employment of Hilco Streambank as intellectual property consultant

for the Debtors [D.I. 91].

        18.     The Outside Date to close the Sale is December 19, 2024. Hilco Streambank’s

commission becomes due and payable at the closing of a transaction, subject to the requirement

set forth in the Hilco Streambank Retention Order that notice of this Fee Declaration (as defined

in the Hilco Streambank Retention Order) be provided on 10 calendar days’ notice to the notice

parties set forth therein.

        19.     Compensation. Pursuant to the Engagement Letter, Hilco Streambank is entitled to

a commission (the “Commission”) upon the sale of the Assets equal to:

                     i. 15% of the amount of aggregate Gross Proceeds up to and including $2
                        million; plus
                    ii. 20% of the amount of aggregate Gross Proceeds above $2 million.
The aggregate Gross Proceeds of the sale of the Assets is $1,850,000.00. Accordingly, the

Commission attributable to such amount is 15% of $1,850,000, which equals $277,500.

        20.     Out-of-Pocket Expenses. Under the Engagement Letter, Hilco Streambank shall be

reimbursed for its reasonable, customary, and documented expenses up to a maximum amount of

$6,500.00, unless otherwise agreed to in writing by the Debtors.             In connection with the

engagement to date, Hilco Streambank has incurred actual, reasonable out-of-pocket expenses as

follows:4

                a. $500.00 in connection with the establishment and maintenance of an online
                   data room, which is charged at a flat rate per the Engagement Letter;

                b. $1,546.78 in connection with Richelle Kalnit’s attendance at the hearing on
                   the bid procedures;

                c. $2,000.00 in connection with paid advertising on LinkedIn regarding the
                   opportunity to acquire the ShiftPixy Assets; and


4
    Receipts for expenses are available upon request and have been provided to the CRO.
                                                  7
                Case 24-21209-LMI         Doc 110      Filed 12/11/24    Page 8 of 8




                 d. $2,643.99 in connection with the attendance of Richelle Kalnit and Paul
                    Gleason at the Auction.5


          21.    By this Declaration, Hilco Streambank seeks approval of the Commission

($277,500.00) and out-of-pocket expenses ($6,690.77) to be paid by the Debtors.

          22.    The fees and costs that are the subject of this Declaration constitute a legitimate

administrative expense in these proceedings payable from the proceeds of the sale of the Assets.

          23.    For the avoidance of doubt, consistent with the engagement letter, Hilco

Streambank shall not be paid unless and until the Sale closes.

          24.    No agreement exists to share the compensation sought with any other individual or

entity.

           WHEREFORE, Hilco Streambank hereby respectfully requests approval of

    compensation for professional services rendered to the Debtors in the sum of $277,500.00and

    reimbursement of actual and necessary expenses incurred in the sum of $6,690.77.


Dated: December 11, 2024                                      /s/ Richelle Kalnit
                                                               Richelle Kalnit
                                                               Chief Commercial Officer, SVP

                                                               Hilco IP Services, LLC d/b/a Hilco
                                                               Streambank




5
      The Debtors have agreed to pay expenses in excess of $6,500, as was permitted in the Engagement
      Letter. Hilco Streambank will not seek reimbursement of the expenses associated with Richelle
      Kalnit’s attendance at the Sale Hearing.
                                                   8
